         Case 1:20-cv-05211-LTS-SN Document 12 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     11/6/2020


RAYMOND GONZALEZ,

                                            Plaintiff,                 20-CV-5211 (LTS)(SN)

                          -against-                                            ORDER

RELIABLE KNITTING WORKS,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        Pursuant to the Civil Case Management Plan and Scheduling Order entered by the Court

on September 2, 2020, the parties were directed to file a joint status letter by October 30, 2020.

As of November 6, 2020, no letter has been filed. The parties are ORDERED to file their status

letter by Friday, November 13, 2020.

SO ORDERED.




DATED:           November 6, 2020
                 New York, New York
